                                  COURT OF APPEALS
                               EIGHTH DISTRICT OF TEXAS
                                    EL PASO, TEXAS


                                                §
RAUL RENE RODRIGUEZ,                                              No. 08-15-00340-CV
                                                §
                          APPELLANT,                                 Appeal from the
                                                §
V.                                                                  65th District Court
                                                §
LETICIA BORREGO,                                                of El Paso County, Texas
                                                §
                            APPELLEE.                              (TC# 2007CM7669)
                                                §

                                       JUDGMENT

       The Court has considered this cause on the record and concludes that the appeal should

be dismissed because the Appellant has not complied with a Court order. We therefore dismiss

the appeal, in accordance with the opinion of this Court. We further order that Appellant pay all

costs of this appeal, for which let execution issue. This decision shall be certified below for

observance.

       IT IS SO ORDERED THIS 23RD DAY OF SEPTEMBER, 2016.


                                            YVONNE T. RODRIGUEZ, Justice

Before McClure, C.J., Rodriguez, and Hughes, JJ.
